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 8

 9                                    UNITED STATES DISTRICT COURT
10                                 NORTHERN DISTRICT OF CALIFORNIA
11                                            OAKLAND DIVISION
12   UNITED STATES ex rel. KACIE CARROLL ) CASE NO. C 10-4925 DMR
     and STATE OF CALIFORNIA ex rel. KACIE )
13   CARROLL,                              ) STIPULATION OF DISMISSAL
                                           )
14         Plaintiff,                      ) [PROPOSED[ ORDER
                                           )
15      v.                                 )
                                           )
16   ADVENTIST HEALTH SYSTEMS, et al,      )
                                           )
17         Defendants.                     )
                                           )
18

19      1. The United States of America and Relator Kacie Carroll, by and through their undersigned
20 attorneys, hereby stipulate to the dismissal of this action, pursuant to Fed. R. Civ. P. 41(a)(1), in

21 accordance with the Settlement Agreement, dated December 15, 2014, and the terms set forth below.

22      2. The United States, the Relator, and Defendants Adventist Health System/West, St. Helena
23 Hospital, and St. Helena Hospital Clearlake (“Adventist”), have entered into a Settlement Agreement,

24 which was fully executed on December 15, 2014, compromising certain civil claims against Adventist.

25 In addition, the United States and the Relator have settled any and all claims and causes of action that

26 the Relator may have against the United States under the False Claims Act, 31 U.S.C. § 3730(d), for a

27 share of the United States’ recovery from Adventist under the Settlement Agreement. The Relator and

28 Adventist also have settled any and all claims and causes of action that the Relator may have against

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 1 Adventist under 31 U.S.C. § 3730(d)(1) for expenses, attorneys’ fees and costs.

 2      3. Accordingly, the United States and the Relator hereby stipulate, pursuant to Fed. R. Civ. P.

 3 41(a)(1), to dismissal of this action pursuant to the terms and conditions of the Settlement Agreement.

 4 Dismissal shall be with prejudice to the Relator, and with prejudice to the United States to the extent of

 5 the “Covered Conduct” as that term is defined in the Settlement Agreement, but otherwise without

 6 prejudice to the United States.
       4. The United States, the Relator, and Adventist have further agreed that except as otherwise
 7
   provided in the Settlement Agreement, each party shall bear its own legal and other costs incurred in
 8
   connection with this matter.
 9
       5. A stipulated dismissal under Fed. R. Civ. P. 41(a)(1) is appropriate because the qui tam complaint
10
   has not been served upon the Defendants, and therefore none of the Defendants have filed answers.
11
       A proposed order accompanies this stipulation.
12
       IT IS SO STIPULATED.
13

14
     DATED: January 8, 2015                                      MELINDA HAAG
15                                                               United States Attorney

16                                                               /s/Steven J. Saltiel
                                                                 STEVEN J. SALTIEL
17                                                               Assistant United States Attorney
18

19
     DATED: January 8, 2015                                      /s/ Michael A. Hirst
20                                                               MICHAEL A. HIRST
                                                                 HIRST LAW GROUP P.C.
21                                                               Attorneys for Relator
22

23
                                              [PROPOSED] ORDER
24
                    Pursuant to stipulation, and for good cause shown, IT IS HEREBY ORDERED that:
25
                    1. This action is dismissed pursuant to the terms and conditions of the Settlement
26
     Agreement among the United States, the Relator, and Adventist. Dismissal is with prejudice to the
27
     Relator, and with prejudice to the United States to the extent of the “Covered Conduct” as that term is
28

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 1 defined in the Settlement Agreement, but otherwise without prejudice to the United States.

 2                   2. Except as expressly provided to the contrary in the Settlement Agreement, each party

 3 shall bear its own legal and other costs incurred in connection with this matter; and,

 4                   3. The Court shall retain jurisdiction over any disputes that may arise concerning

 5 compliance with the Settlement Agreement.

 6
                                                        IT IS SO ORDERED
 7

 8
     Dated:     January 8, 2015
 9
                                                                   DONNA M. RYU
10
                                                                   United States Magistrate Judge
11

12

13                                               CERTIFICATION

14            Pursuant to Civil L.R. 5-1(i)(3), the undersigned hereby attests that Michael A. Hirst has
15 concurred in the filing of this document.

16
     DATED: January 8, 2015                                MELINDA HAAG
17
                                                           United States Attorney
18
                                                           /s/ Steven J. Saltiel
19                                                         STEVEN J. SALTIEL
                                                           Assistant United States Attorney
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